                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA,
                                                  Case No. 3:21-mj-4149
 v.
                                                  Magistrate Judge Alistair E. Newbern
 RICCARDO PAOLO SPAGNI,

         Defendant.


                                  VIDEO HEARING ORDER

        The United States has filed a motion asking that Defendant be detained pending trial. A

hearing on that motion by video is SET on Thursday, August 5, 2021, at 11:00 a.m.

        Pursuant to the Coronavirus Aid, Relief, and Economic Security Act (CARES Act), H.R.

748, this Court has found that emergency conditions exist throughout the Middle District of

Tennessee due to COVID-19. (Administrative Order 209-1.) The Court has therefore approved the

use of video teleconferencing, or telephone conferencing if video teleconferencing is not

reasonably available, in certain criminal proceedings with the Defendant’s consent. Defendant’s

counsel has informed the Court that Defendant consents to appearing by video.

        Counsel must ensure that they will have access to an audio-and-video-capable device with

a Google Chrome, Mozilla Firefox, or Safari browser installed and reliable internet access for the

video hearing. Counsel must ensure that any witness they intend to call also has an audio-and-

video-capable device and reliable internet access. Counsel shall provide the names of any

witnesses they intend to call and a telephone number at which each witness can be reached during

the hearing to Sarah_Dixon@tnmd.uscourts.gov no later than one hour before the hearing. Counsel

shall be responsible for providing all information necessary to connect to the video hearing to any

witness they intend to call.


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       All exhibits counsel intend to offer in the hearing must be emailed to

Sarah_Dixon@tnmd.uscourts.gov and to opposing counsel no later than one hour before the

hearing. Counsel shall ensure that all witnesses have copies of any documents they may be asked

to review during the hearing.

       If Defendant intends to propose a third-party custodian as a condition of release, that person

must execute the Court’s third-party custodian affidavit form, which will be provided upon request.

       Upon request, the Court will provide a private video teleconference for Defendant and

Defendant’s counsel before the hearing begins. Counsel shall request the private conference and

email Sarah_Dixon@tnmd.uscourts.gov of the time required, not to exceed 30 minutes, by one

day before the hearing.

       It is so ORDERED.



                                                      ____________________________________
                                                      Alistair E. Newbern
                                                      United States Magistrate Judge




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